       TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN



                                     NO. 03-24-00044-CR



                              Stewart Thomas Mettz, Appellant

                                               v.

                                 The State of Texas, Appellee



             FROM THE 22ND DISTRICT COURT OF HAYS COUNTY
   NO. CR-18-0144-C, THE HONORABLE R. BRUCE BOYER, JUDGE PRESIDING



                           M E M O RAN D U M O PI N I O N


              Stewart Thomas Mettz was charged with capital murder for killing police officer

Kenneth Copeland, who was a peace officer and who was acting in the lawful discharge of

his official duty at the time of the murder. See Tex. Penal Code § 19.03. Following a trial, the

jury found Mettz guilty. The State did not seek the death penalty, and therefore, the trial court

automatically assessed punishment at life imprisonment without the possibility of parole. See id.

§ 12.31. Mettz appealed his conviction.

              Mettz’s court-appointed attorney on appeal filed a motion to withdraw supported

by an Anders brief contending that the appeal is frivolous and without merit. See Anders v.

California, 386 U.S. 738, 744-45 (1967).       Mettz’s court-appointed attorney’s brief, which

concludes that the appeal is frivolous and without merit, meets the requirements of Anders by

presenting a professional evaluation of the record and demonstrating that there are no arguable
grounds to be advanced. See id.; Garner v. State, 300 S.W.3d 763, 766 (Tex. Crim. App. 2009);

see also Penson v. Ohio, 488 U.S. 75, 81-82 (1988) (explaining that Anders briefs serve purpose

of “assisting the court in determining both that counsel in fact conducted the required detailed

review of the case and that the appeal is . . . frivolous”). Mettz’s counsel represented to the Court

that he provided copies of the motion and brief to Mettz; advised Mettz of his right to examine the

appellate record, file a pro se brief, and pursue discretionary review following the resolution of the

appeal in this Court; and provided Mettz with a form motion for pro se access to the appellate

record along with the mailing address of this Court. See Kelly v. State, 436 S.W.3d 313, 319-20

(Tex. Crim. App. 2014). After requesting a copy of the appellate record, Mettz filed a pro se brief

challenging his conviction.

               We have independently reviewed the record and considered appellate counsel’s

brief and Mettz’s pro se brief, and we have found nothing that might arguably support the appeal.

See Anders, 386 U.S. at 744; Garner, 300 S.W.3d at 766. We agree with counsel that the appeal

is frivolous and without merit. We grant counsel’s motion to withdraw and affirm the trial court’s

judgment of conviction.



                                               __________________________________________
                                               Thomas J. Baker, Justice

Before Justices Baker, Smith, and Theofanis

Affirmed

Filed: August 23, 2024

Do Not Publish




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